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                             UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEW JERSEY




    CHAMBERS OF                                                                    MITCHELL H. COHEN
   THE HONORABLE                                                                     UNITED STATES
JOSEPH H. RODRIGUEZ                                                                   COURTHOUSE
    SENIOR JUDGE                                                                ONE JOHN F. GERRY PLAZA
                                                                                 CAMDEN, NJ 08101-2797
                                                                                      (856) 757-5002

                                         January 25, 2018


   Sent via: CM/ECF ONLY

   To:     ALL COUNSEL

           Re: Chaudry v. Farabella,
               Civil Action No. 17-1411

   Dear Counsel:

          This letter confirms that oral argument on the pending Motion to Dismiss [Dkt.
   No. 12] has been scheduled on Wednesday, February 21, 2018 at 10:00 a.m. in
   Courtroom 5D, U.S. District Court, 4th & Cooper Streets, Camden, New Jersey.

           Kindly mark your calendars.


                                         Very truly yours,

                                               /S/ Joseph H. Rodriguez
                                                       U.S.D.J.

   CC: David Bruey, Deputy Clerk
